Case 5:22-cv-01473-FLA-SP     Document 105-1   Filed 08/09/24   Page 1 of 2 Page ID
                                     #:10126


 1   K&L Gates LLP
     10100 Santa Monica Boulevard
 2   Eighth Floor
     Los Angeles, California 90067
 3   Telephone: 310.552.5000
     Facsimile: 310.552.5001
 4   Christina N. Goodrich (SBN 261722)
     christina.goodrich@klgates.com
 5   Ryan Q. Keech (SBN 280306)
     ryan.keech@klgates.com
 6   Zachary T. Timm (SBN 316564)
     zach.timm@klgates.com
 7   Katherine Ramos
     katy.ramos@klgates.com
 8

 9
     Attorneys for Plaintiff
10   CITIZENS BUSINESS BANK
11
                             UNITED STATES DISTRICT COURT
12
                         CENTRAL DISTRICT OF CALIFORNIA
13

14

15   CITIZENS BUSINESS BANK, a                 Case No. 5:22-cv-01473-FLA-SP
     California banking corporation,           Hon. Fernando L. Aenlle-Rocha
16
                Plaintiff,
17                                             DECLARATION OF ZACHARY
          v.                                   TIMM IN SUPPORT OF
18                                             PLAINTIFF CITIZENS BUSINESS
     MISSION BANK, a California
19   corporation and DOES 1 through 10,        BANK’S OPPOSITION TO
     inclusive,                                DEFENDANT’S MOTION FOR
20                                             SUMMARY JUDGMENT
                Defendant.
21
                                               Date:            August 30, 2024
22                                             Time:            1:30pm
                                               Courtroom:       6B
23

24

25

26

27

28


                             DECLARATION OF ZACHARY T. TIMM
Case 5:22-cv-01473-FLA-SP   Document 105-1   Filed 08/09/24   Page 2 of 2 Page ID
                                   #:10127




                      [Document Filed
                        Under Seal]
